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                U N I T E D S T AT E S D I S T R I C T C O U R T
                FOR THE DISTRICT OF COLUMBIA

America First Legal Foundation
300 Independence Avenue SE,
Washington, DC 20003;

Fight for Schools and Families,
P.O. Box 523452
Springfield, VA 22152; and

Parents Defending Education
4532 Lee Hwy #119
Arlington, VA 22207;
                      Plaintiffs,
v.
Miguel Cardona, in his official capacity as
United States Secretary of Education
400 Maryland Avenue SW,
Washington, DC 20202;                         Case No. 1:22-cv-1947
United States Department of Education,
an agency of the United States
Eisenhower Executive Office Building
400 Maryland Avenue SW,
Washington, DC 20202; and

National Parents and Families
Engagement Council, an advisory
committee established and utilized by
Secretary of Education Miguel Cardona
Eisenhower Executive Office Building
400 Maryland Avenue SW,
Washington, DC 20202,

                      Defendants.
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                                         COMPLAINT
                             (For Injunctive and Declaratory Relief)

                                  STATEMENT OF THE CASE

       1.      On June 14, 2022, the Department of Education (“Department”) launched the Na-

tional Parents and Families Engagement Council. The Department created the Council to “facili-

tate strong and effective relationships between schools and parents, families and caregivers.” In

that Press Release, the Department announced that “[t]he Council will meet” “[i]n the coming

weeks” to discuss “how . . . children are recovering [from the COVID-19 pandemic]; the different

ways schools are providing academic, mental health and social and emotional support; and how

they can best constructively engage with schools.”

       2.      In a later Press Release, the Department reiterated the goals of the Council and said

that “[t]he Council meets to discuss” various issues. (emphasis added). Details about the Council

and its meetings are unavailable in the Federal Register or elsewhere.

       3.      Plaintiffs Fight for Schools and Families and Parents Defending Education are “‘di-

rectly affected, interested, and qualified’ with respect to the [Council’s] function of improving

[education],” yet they are not represented on the Council, either directly or indirectly. NAACP

Legal Def. & Educ. Fund. Inc. v. Barr, 496 F. Supp. 3d 116, 144–45 (D.D.C. 2020) (quoting 41

C.F.R. § 102-3.60(b)(3)) (issuing an injunction that required the Attorney General to ensure that

his advisory committee had a fairly balanced membership).

       4.      The Defendants have violated the Federal Advisory Committee Act (“FACA”), 5

U.S.C. app. 2 §§ 1-16. The Plaintiffs seek declaratory and injunctive in four broad respects.

       5.      First, the Defendants have violated the requirements under section 5 of FACA, 5

U.S.C. app. 2 § 5, that an advisory committee’s membership be “fairly balanced in terms of the

points of view represented and the functions to be performed by the advisory committee,” id.
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§ 5(b)(2); and that “appropriate provisions” be made “to assure that the advice and recommenda-

tions of the advisory committee will not be inappropriately influenced by the appointing authority

or by any special interest, but will instead be the result of the advisory committee’s independent

judgment[,]” id. § 5(b)(3). The Council’s members are allies of the Biden Administration. Most of

the organizations have applauded the Administration’s previous decisions, and nearly 80% of their

leaders have donated to President Biden or other Democrats. Defendant Cardona selected members

that are agreeable, not balanced.

       6.      Second, the Defendants have already violated, and absent relief, will continue to

violate, the non-discretionary transparency and public access requirements of section 10 of FACA,

5 U.S.C. app. 2 § 10. The Council has met without public notice; without making those meetings

open to the public; and without timely notice in the Federal Register. Id. § 10(a). It has also failed

to make all “records, reports, transcripts, minutes, appendixes, working papers, drafts, studies,

agenda, or other documents which were made available to or prepared for or by” the Council

“available for public inspection.” Id. § 10(b). The Plaintiffs only learned that the Council has met

after the Department revealed that meetings had occurred in its second Press Release.

       7.      Third, the Defendants have already violated, and absent relief, will continue to vi-

olate, FACA’s non-discretionary establishment requirements. 5 U.S.C. app. 2 § 9(a). No statute

specifically authorizes the Council’s establishment. Id. § 9(a)(1). Nor did the President specifically

authorize the Council’s establishment. Id. Nor did Secretary Cardona publish notice of the Coun-

cil’s establishment in the Federal Register. Id. § 9(a)(2).

       8.      Fourth, the Defendants have violated—and continue to violate—the oversight pro-

visions of FACA and its interpreting regulations by failing to prepare and file a charter for the




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Council with all necessary political bodies, including but not limited to the Congressional com-

mittees that would otherwise exercise oversight responsibility over the Council. Id. § 9(c). Nor

have the Defendants assigned a Designated Federal Officer to the Council to ensure compliance

with FACA, and any other applicable laws and regulations. In other words, the Defendants have

shielded the Council from any meaningful oversight.

       9.      In sum, despite benefiting from the “political legitimacy” that comes with invoking

an official advisory committee, Cummock v. Gore, 180 F.3d 282, 292 (D.C. Cir. 1999), the De-

fendants have shirked nearly all FACA requirements.

       10.     Each Plaintiff is particularly and concretely injured by the Defendants’ violations

of FACA. By establishing an advisory committee composed of members holding common views—

and excluding organizations with competing views—and conducting meetings behind closed doors

without disclosing the matters discussed in those meetings, the Defendants have impaired each

Plaintiff’s mission, and the Plaintiffs have no opportunity to have a representative voice on the

Council.

                                  JURISDICTION AND VENUE

       11.     This Court has jurisdiction under 5 U.S.C. § 704 and 28 U.S.C. §§ 1331 and 1361.

       12.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and (e)

because all the Defendants reside in this district, where a substantial part of the acts and omissions

giving rise to this action took place.

                                             PARTIES

       13.     Plaintiff America First Legal Foundation is a nonprofit corporation that promotes

government transparency and accountability by gathering official government information, ana-




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lyzing it, and disseminating it to the public through reports, press releases, media platforms in-

cluding social media, and by posting government records on its website for use by the public,

scholars, and others. Among other things, America First Legal has published a toolkit for parents

to use to assert their rights under the Protection of Pupil Rights Amendment. It also serves as legal

counsel to members of the public, including parents challenging unlawful policies of school dis-

tricts across the country.

          14.    Plaintiff Fight for Schools and Families is a non-partisan political action committee

focused on electing common-sense candidates that commit to policies that support equal oppor-

tunity, tolerance, meritocracy, and achievement.

          15.    Plaintiff Parents Defending Education is a nationwide, nonpartisan, grassroots or-

ganization, whose members are primarily parents of school-aged children. Its mission is to pre-

vent—through advocacy, disclosure, and, if necessary, litigation—the politicization of K-12 edu-

cation.

          16.    Defendant Miguel Cardona is the Secretary of Education. Plaintiffs sue him in his

official capacity.

          17.    Defendant Department of Education is the federal agency of the United States in

which the Council is housed.

          18.    Defendant National Parents and Families Engagement Council is an advisory

committee established by the Department on June 14, 2022.

                                      LEGAL FRAMEWORK

          19.    FACA applies to “any committee, board, commission, council, conference, panel,

task force, or other similar group, or any subcommittee or other subgroup thereof . . . established

or utilized by one or more agencies . . . in the interest of obtaining advice or recommendations for



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the President or one or more agencies or officers of the Federal Government,” defining such groups

as “advisory committees.” 5 U.S.C. app. 2 § 3(2).

        20.     Only those committees that are “composed wholly of full-time, or permanent part-

time, officers or employees of the Federal Government” or “created by the National Academy of

Sciences or the National Academy of Public Administration” fall outside the definition of “advi-

sory committee” under the Act. 5 U.S.C. app. 2 § 3(2). And all of the provisions of FACA apply to

advisory committees except when an “Act of Congress establishing any such advisory committee

specifically provides otherwise.” 5 U.S.C. app. 2 § 4(a).

        21.     FACA mandates that “[n]o advisory committee shall be established unless such es-

tablishment is (1) specifically authorized by statute or by the President; or (2) determined as a

matter of formal record, by the head of the agency involved after consultation with the Adminis-

trator, with timely notice published in the Federal Register, to be in the public interest in connection

with the performance of duties imposed on that agency by law.” 5 U.S.C. app. 2 § 9(a).

        22.     FACA also orders that “[u]nless otherwise specifically provided by statute or Pres-

idential directive, advisory committees shall be utilized solely for advisory functions. Determina-

tions of action to be taken and policy to be expressed with respect to matters upon which an advi-

sory committee reports or makes recommendations shall be made solely by the President or an

officer of the Federal Government.” 5 U.S.C. app. 2 § 9(b).

        23.     FACA requires that in establishing an advisory committee, the agency heads “shall”

follow the guidelines of the statute, 5 U.S.C. app. 2 § 5(c), including that the directive establishing

the advisory committee must, among other things, “require the membership of the advisory com-

mittee to be fairly balanced in terms of the points of view represented and the functions to be




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performed by the advisory committee” and “contain appropriate provisions to assure that the ad-

vice and recommendations of the advisory committee will not be inappropriately influenced by the

appointing authority or by any special interest, but will instead be the result of the advisory com-

mittee’s independent judgment.” Id. § 5(b)(2)-(3).

       24.     FACA’s implementing regulations, promulgated by the General Services Admin-

istration, require each advisory committee to have a plan to attain fairly balanced membership.

The plan must “ensure that, in the selection of members for the advisory committee, the agency

will consider a cross-section of those directly affected, interested, and qualified, as appropriate to

the nature and functions of the advisory committee. Advisory committees requiring technical ex-

pertise should include persons with demonstrated professional or personal qualifications and ex-

perience relevant to the functions and tasks to be performed.” 41 C.F.R. § 102-3.60(b)(3).

       25.     The charter of each advisory committee must be filed by the “Committee Manage-

ment Officer designated in accordance with section 8(b) of the Act, or . . . another agency official

designated by the agency head.” 41 C.F.R. § 102-3.70.

       26.     No advisory committee “shall meet or take any action until an advisory committee

charter has been filed with . . . the head of the agency to whom any advisory committee reports

and with the standing committees of the Senate and of the House of Representatives having legis-

lative jurisdiction of such agency.” 5 U.S.C. app. 2 § 9(c). The advisory committee charter must

also be filed with the Library of Congress and the Secretariat. See 41 C.F.R. § 102-3.70(a)(3)–(4).

       27.     Each advisory committee must also have a Designated Federal Officer (“DFO”)

designated by the agency head. 41 C.F.R. § 102-3.120; see 5 U.S.C. app. 2 § 10(e). A committee’s

DFO is responsible for calling meetings of the committee, approving the agenda for all committee




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meetings, attending meetings, adjourning any meeting when they determine it to be “in the public

interest,” and chairing the meeting when directed by the agency head. 41 C.F.R. § 102-3.120.

       28.     FACA demands transparency in the procedures and meetings of advisory commit-

tees. All advisory committee meetings must be open to the public and must be timely noticed in

the Federal Register. 5 U.S.C. app. 2 § 10(a)(1)-(2). Meetings must be noticed in the Federal Reg-

ister at least fifteen days before the meeting is to be held. 41 C.F.R. § 102-3.150(a).

       29.     Interested members of the public must “be permitted to attend, appear before, or

file statements with any advisory committee,” subject only to “reasonable” regulations set by the

Administrator of General Services. 5 U.S.C. app. 2 § 10(a)(3). Although portions of meetings may

be closed where the President determines that closure is provided for under 5 U.S.C. § 552b(c)

(the federal Open Meetings statute), any such determination must be made in a writing that sets

forth the reasons for the conclusion. 5 U.S.C. app. 2 § 10(d).

       30.     Subject to the provisions of the Freedom of Information Act, 5 U.S.C. § 552, “the

records, reports, transcripts, minutes, appendixes, working papers, drafts, studies, agenda, or other

documents which were made available to or prepared for or by each advisory committee shall be

available for public inspection and copying at a single location in the offices of the advisory com-

mittee or the agency to which the advisory committee reports.” 5 U.S.C. app. 2 § 10(b).

       31.     FACA mandates that “[d]etailed minutes of each meeting of each advisory commit-

tee shall be kept and shall contain a record of the persons present, a complete and accurate descrip-

tion of matters discussed and conclusions reached, and copies of all reports received, issued, or

approved by the advisory committee. The accuracy of all minutes shall be certified to by the chair-




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man of the advisory committee.” 5 U.S.C. app. 2 § 10(c). Advisory committees must make avail-

able copies of transcripts of advisory committee meetings to “any person” at only the “actual cost

of duplication.” 5 U.S.C. app. 2 § 11(a)

          32.    These requirements reflect FACA’s goal of ensuring that “agencies should seek to

be as inclusive as possible.” 41 C.F.R. § 102-3.95(d).

          33.    Each of the requirements of FACA is mandatory on the appointing authority, in this

case, Secretary Cardona, and on the advisory committee itself.

                                               FACTS

          34.    No statute specifically authorizes the establishment of the Council.

          35.    The President has not purported to specifically authorize the establishment of the

Council.

          36.    Notice of the establishment of the Council has not been published in the Federal

Register.

          37.    Defendant Cardona has not purported to appoint a DFO for the Council as FACA

requires. 41 C.F.R. § 102-3.120.

          38.    No Defendant has purported to file an advisory committee charter with the Depart-

ment; Senate Health, Education, Labor, and Pensions Committee; House Committee on Education

and Labor; Library of Congress; or Secretariat.

          39.    According to the Department, the Council has been actively meeting to perform its

duties.

          40.    If the Council has not yet met, the Department’s June 14, 2022, Press Release an-

nouncing the Council says that the Council intends to meet “[i]n the coming weeks.”




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         41.     The Council’s membership is skewed because it is disproportionally composed of

the Biden Administration’s supporters, and fails to reflect the diversity of opinions actually held

by American parents, families, and caregivers, as it must for an objective and competent delibera-

tive process.

         42.     The Council is composed of representatives from the following fourteen organiza-

tions:

                 a. The Council of Parent Attorneys and Advocates (“COPAA”);

                 b. Fathers Incorporated;

                 c. Generations United;

                 d. Girls Inc.;

                 e. League of United Latin American Citizens (“LULAC”);

                 f. Mocha Moms;

                 g. National Association for Family, School, and Community Engagement

                     (“NAFSCE”);

                 h. National Action Network (“NAN”);

                 i. National Military Family Association (“NMFA”);

                 j. National Parent Teacher Association (“PTA”);

                 k. National Parents Union (“NPU”);

                 l. The National Center for Parent Leadership, Advocacy, and Community Em-

                     powerment (“PLACE”);

                 m. United Parent Leaders Action Network (“UPLAN”); and

                 n. UnidosUS.




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        43.     A substantial number of these organizations have supported this Administration and

its policies. Specifically:

                 a. Seven (50%) organizations have publicly expressed support for actions taken

                     by the Biden Administration;1

                 b. Eleven (78.57%) organizations’ highest-ranking executive have donated to

                     President Biden, Democratic lawmakers, Democratic fundraisers, or other as-

                     sociations or entities affiliated with Democrats;2




1
 Denise Marshall, COPAA Statement on Proposed Increases to Support Special Education in the
President’s Annual Budget, COPPA (Apr. 9, 2021), https://bit.ly/3bN09FD; Stephanie J. Hull,
Statement on Executive Orders to Promote Gender Equity, Girls Inc., https://bit.ly/3Ifr8G6 (last
visited June 20, 2022); LULAC Calls Latest Biden Immigration Actions Positive, LULAC,
https://bit.ly/3AvT8TY (last visited June 20, 2022); The Mocha Moms, Inc. National Board, Mo-
cha Moms, Inc. Congratulates Judge Ketanji Brown Jackson, Mocha Moms, Inc.: Mocha Blog
(Apr. 8, 2022), https://bit.ly/3AuqAu3; Al Sharpton Issues Statement in Support of Biden Executive
Order on Policing, Calls on Senate to Pass George Floyd Justice in Policing Act, Nat’l Action
Network (May 24, 2022), https://bit.ly/3AqtAHS; Heidi May Wilson, National PTA Applauds
President Biden’s Fiscal Year 2023 Budget Proposal, Nat’l PTA (Apr. 1, 2022),
https://bit.ly/3RbxQRw; Janet Murguía, UnidosUS Statement on President Biden’s Executive Or-
der on Police Reform, UnidosUS (May 26, 2022), https://bit.ly/3P35Xcv.
2
   Individual Contributions, FEC, https://bit.ly/3R73n7b (last visited June 20, 2022) (Denise
Marhsall, COPAA); Individual Contributions, FEC, https://bit.ly/3R9SYYi (last visited June 20,
2022) (Donna Butts, Generations United); Individual Contributions, FEC, https://bit.ly/3R73vnb
(last visited June 20, 2022) (Stephanie Hull, Girls Inc.); Individual Contributions, FEC,
https://bit.ly/3IhIiTm (last visited June 20, 2022) (Domingo Garcia, LULAC); Individual Contri-
butions, FEC, https://bit.ly/3IlzITB (last visited June 20, 2022) (Vito Borrello, NAFSCE); Individ-
ual Contributions, FEC, https://bit.ly/3ylMigZ (last visited June 20, 2022) (Al Sharpton, NAN);
Individual Contributions, FEC, https://bit.ly/3OPyrGM (last visited June 20, 2022) (Besa
Pinchotti, NMFA); Individual Contributions, FEC, https://bit.ly/3AwcAQE (last visited June 20,
2022) (Nathan Monell, NPTA); Individual Contributions, FEC, https://bit.ly/3OOHFmH (last vis-
ited June 20, 2022) (Keri Rodrigues, NPU); Individual Contributions, FEC, https://bit.ly/3AycaZR
(last visited June 20, 2022) (Nora Thompson, PLACE); Individual Contributions, FEC,
https://bit.ly/3afsbcD (last visited June 20, 2022) (Janet Murguía, UnidosUS).

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               c. Nine (64.29%) organizations have advocated for stricter gun control for

                   school-safety purposes;3

               d. According to a report, at least seven (50%) of the organizations are aligned

                   with the Democratic Party on LGBTQ issues;4

               e. President Biden spoke at NAN’s national convention;5

               f. The President of NPU defended the Biden Administration’s controversial

                   Memorandum on October 4, 2021, that addressed alleged threats against school

                   boards;6




3
  Jamie Anderson, Report on Gun Safety Released by AFT, NEA, and Everytown for Gun Safety,
COPAA (Feb. 11, 2019), https://bit.ly/3NIhm09; Generations United’s Statement on Tragedies in
Buffalo and Uvalde, Generations United, https://bit.ly/3P5jLmS (last visited June 24, 2022); Girls
Inc. Releases Statement on Gun Violence, Girls Inc., https://bit.ly/3P1BPhw (last visited June 24,
2022); LULAC Urges Senate Lawmakers to Take Bipartisan Action and Pass Gun Law Reforms,
LULAC, https://bit.ly/3ynJLTs (last visited June 24, 2022); Interdisciplinary Group on Preventing
School and Community Violence, Call for action to prevent gun violence in the United States of
America, USC Suzanne Dworak-Peck (Mar. 1, 2018), https://bit.ly/3RfoLXK (NAFSCE); Position
Statements – Firearms, Nat’l PTA (2021), https://bit.ly/3ynPjO9; Letter from National Parents Un-
ion to President Biden (May 27, 2022) (available at https://bit.ly/3ynPo4p); Janet Murgía, We need
common sense gun safety measures and mental health resources, UnidosUS Blog (June 16, 2022),
https://bit.ly/3yk28cf; see also Press Release, Nat’l Action League, Rev. Al Sharpton & National
Action Network Re-Iterate The Call For National Gun Control As Sharpton & Brooklyn D.A.
Charles Hynes Prepare To Occupy the Corner Where A 13-Year-Old Was Shot Last Night In
Brooklyn (Aug. 23, 2012) (available at https://bit.ly/3bGBrGP).
4
  Ben Johnson, A Look at Who’s on Biden’s Parents Council, The Daily Signal (June 21, 2022),
https://dailysign.al/3yMvhyd.
5
 President Joe Biden to Deliver Opening Remarks at NAN’s National Virtual Convention, Nat’l
Action Network (Apr. 13, 2021), https://bit.ly/3AqQmPX.
6
  Chrissy Clark, Biden Creates ‘Parents Council’ That Includes People Who Publicly Defended
Letter Labeling Parents ‘Domestic Terrorists’, The Daily Caller (June 14, 2022, 6:11 PM),
https://bit.ly/3IfNuav.

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                g. NMFA’s former Executive Director was appointed to serve in the Biden Ad-

                   ministration;7

                h. LULAC openly endorsed Secretary Cardona;8 and

                i. LULAC’s National President was a Democratic lawmaker.9

       44.     By contrast, none (0%) of the organizations’ highest-ranking executive donated to

Republicans or conservative or libertarian organizations.

       45.     None (0%) of the organizations has publicly criticized the Biden Administration’s

masking policy for students.

       46.     None (0%) of the organizations has publicly voiced concern over the Biden Ad-

ministration’s October 4, 2021, Memorandum that addressed alleged threats to school boards.

       47.     None (0%) of the organizations has spoken against critical race theory curriculum

in K-12 schools.

       48.     To have a fair balance of viewpoints and competent deliberation on students’ needs,

there must be representation from different parts of the political and ideological spectrum. That is

not the case here, as the Council consists of groups that already support the Biden Administration.

The Council is far from balanced.

       49.     The members of the Council were apparently appointed when the Council was es-

tablished. Parents Defending Education thus had no opportunity to formally apply to be on the



7
 President Biden Announces Key National Security Nominations, White House (Sept. 21, 2021),
https://bit.ly/3afsOmv.
8
 LULAC National Education Chair Calls Selection of Dr. Miguel Cardona a New Opportunity,
LULAC (Dec. 23, 2020), https://bit.ly/3yJEPK4.
9
 LULAC National President Domingo Garcia, LULAC, https://bit.ly/3bN1CvD (last visited June
20, 2022).

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Council. If there had been such an opportunity, Parents Defending Education would have applied

to be on the Council. Alternatively, if Parents Defending Education had been invited to be a mem-

ber of the Council, it would have joined the Council.

         50.     Including Parents Defending Education on the Council would lead to greater bal-

ance. Parents Defending Education and its members have fundamentally different viewpoints than

the Council’s current members.10

         51.     The Defendants’ failure to comply with FACA—including their failure to publicize

the Council’s creation, charter, and activities as required by law, and their failure to ensure a proper

balance of views on the Council—causes injury to Parents Defending Education’s interests in pre-

venting the politicization of K-12 education and disclosing to parents and the public potential gov-

ernment policies relevant to that education.

         52.     The Defendants’ violations, particularly their failure to properly balance the Coun-

cil and their improper influence, increase the likelihood of politicization in K-12 education through

the Council’s influence on government policymaking. The Defendants’ violations also decrease

the Council’s transparency. Parents Defending Education must therefore expend additional re-

sources to investigate, monitor, and respond to the Council and its activities, so that it can fulfill

its mission of preventing politicization in K-12 education and informing parents about educational

policy issues. By devoting resources in response to the Council, Parents Defending Education must

divert resources from its normal operations.

         53.     Further, the Defendants’ failure to publicize information as required by FACA in-

hibits Parents Defending Education’s ability to scrutinize the Council’s activities and limits its

opportunity for oversight.


10
     See About Us, Parents Defending Education, https://bit.ly/3ahOHRX.

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       54.      The Defendants have limited Parents Defending Education’s ability to have a rep-

resentative voice on the Council on an issue with which it is engaged.

       55.      Judicial relief against the Defendants for their legal violations would likely redress

Parents Defending Education’s injuries by, inter alia, allowing it to maintain its resources as allo-

cated on other priorities relevant to its mission, and by giving it a voice on a properly constituted

Council.

       56.      The Defendants’ failure to comply with FACA—particularly their failure to publi-

cize its creation, charter, and activities as required by law—causes injury to Plaintiff America First

Legal’s interest in promoting government transparency and accountability, and fighting for the

rights of parents to be involved in the upbringing of their children.

       57.      Because of the Defendants’ violations, America First Legal must expend additional

resources to investigate and monitor the Council and its activities, so that it can fulfill its mission

of holding the government accountable and educating the public about the government’s activities

and policies.

       58.      Judicial relief against the Defendants for their legal violations would likely redress

America First Legal Foundation’s injuries by, inter alia, allowing it to maintain its resources as

allocated on other priorities relevant to its mission.

       59.      Were Plaintiff Fight for Schools and Families invited to be a member of the Coun-

cil, it would agree. But Fight for Schools and Families was not invited, and it had no opportunity

to formally apply to be on the Council. It would have joined the Council if it was invited, or it

would have applied if there was an application process.




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          60.     Its inclusion would lead to greater balance on the Council, as Fight for Schools and

Families has a fundamentally different viewpoint than the Council’s current members.11

          61.     The Defendants’ failure to comply with FACA— including their failure to publicize

the Council’s creation, charter, and activities as required by law, and their failure to ensure a proper

balance of views on the Council—causes injury to Fight for Schools and Families’ interests in

protecting students from political agendas.

          62.     The Defendants’ violations, particularly their failure to properly balance the Coun-

cil, frustrates Fight for Schools and Families’ mission to ensure that parents’ concerns and inputs

are not ignored by decision-makers. Fight for Schools and Families must therefore expend addi-

tional resources to investigate, monitor, and respond to the Council and its activities, so that it can

fulfill its mission. By devoting resources in response to the Council, Fight for Schools and Families

must divert resources from its normal operations.

          63.     Further, the Defendants’ failure to publicize information as required by FACA in-

hibits Fight for Schools and Families’ ability to scrutinize the Council’s activities and limits its

opportunity for oversight of the Council.

          64.     The Defendants have limited Fight for Schools and Families’ ability to have a rep-

resentative voice on the Council on an issue with which it is engaged.

          65.     Judicial relief against the Defendants for their legal violations would likely redress

Fight for Schools and Families’ injuries by, inter alia, allowing it to maintain its resources as allo-

cated on other priorities relevant to its mission, and by giving it a voice on a properly constituted

Council.




11
     See Why We Fight, Fight for Schools and Families, https://bit.ly/3uo8upx.

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                                       CLAIMS FOR RELIEF

                                        COUNT I
                       Administrative Procedure Act; 5 U.S.C. § 706
     Appointment of Council Members and Public Notice and Access in Violation of FACA

          66.     The Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.

          67.     Defendant Cardona is the agency head responsible for appointing members to the

Council.

          68.     FACA requires that Defendant Cardona ensure that the membership of the Council

is “fairly balanced in terms of the points of view represented and the functions to be performed by

the advisory committee.” 5 U.S.C. app. 2 § 5(b)(2).

          69.     Defendant Cardona has appointed members that are like-minded and are already

supportive of this Administration. Nearly 80% of the members’ heads have donated to President

Biden, a Democratic fundraiser, or other Democratic candidates. Half of the organizations have

commended this Administration for its previous actions. Defendant Cardona did not appoint mem-

bers with differing viewpoints. Because the points of view are largely from one angle, the Council

is not fairly balanced.

          70.     FACA requires that Defendant Cardona, as head of the agency to which the Council

reports, “designate a Federal officer . . . to be the [Designated Federal Officer]” for the Council.

41 C.F.R. § 102-3.120.

          71.     FACA forbids “any meeting in the absence of [a Designated Federal Officer].” 5

U.S.C. app. 2 § 10(e).

          72.     FACA orders that “[a]dvisory committees shall not hold any meetings except at the

call of, or with the advance approval of, a [Designated Federal Officer].” Id. § 10(f).



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       73.        Defendant Cardona has not appointed a DFO for the Council, yet the Council has

met, or intends to meet “[i]n the coming weeks.”

       74.        FACA requires that “records, reports, transcripts, minutes, appendixes, working pa-

pers, drafts, studies, agenda, or other documents which were made available to or prepared for or

by each advisory committee shall be available for public inspection and copying at . . . the agency

to which the advisory committee reports until the advisory committee ceases to exist.” 5 U.S.C.

app. 2 § 10(b).

       75.        The Department has failed to ensure that the documents made available to, prepared

for, or prepared by the Council are available through its offices.

       76.        FACA orders that “[n]o advisory committee shall be established unless establish-

ment is (1) specifically authorized by statute or by the President; or (2) determined as a matter of

formal record, by the head of the agency involved after consultation with the Administrator, with

timely notice published in the Federal Register, to be in the public interest in connection with the

performance of duties imposed on that agency by law.” 5 U.S.C. app. 2 § 9(a).

       77.        The Defendants established the Council with no specific authorization by statute or

by the President, and notice of the establishment of the Council was not published in the Federal

Register.

       78.        By violating FACA, the Defendants are (a) acting without observance of procedure

required by law; and (b) acting in a manner that is arbitrary, capricious, and contrary to law, in

violation of the Administrative Procedure Act, 5 U.S.C. §§ 706(2)(A), (B) and (D).

       79.        The Defendants’ violations have injured the Plaintiffs by limiting the Plaintiffs’

ability and right to have a representative voice on the Council on issues with which the Plaintiffs

are engaged.



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          80.     These injuries to the Plaintiffs are likely to continue as long as the Defendants con-

tinue to operate and direct the operation of the Council out of compliance with the law.

          81.     Each of these failures to comply with FACA’s requirements constitutes final agency

action under the APA. 5 U.S.C. § 706.

                                              COUNT II
                                    Mandamus, 28 U.S.C. § 1361
                                 Violation of FACA — Establishment

          82.     The Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.

          83.     FACA orders that “[n]o advisory committee shall be established unless such estab-

lishment is (1) specifically authorized by statute or by the President; or (2) determined as a matter

of formal record, by the head of the agency involved after consultation with the Administrator,

with timely notice published in the Federal Register, to be in the public interest in connection with

the performance of duties imposed on that agency by law.” 5 U.S.C. app. 2 § 9(a).

          84.     The Council was established without specific authorization by a statute or by the

President, and the notice of its establishment was not published in the Federal Register, in violation

of FACA.

          85.     “[B]ecause an advisory committee is not an agency subject to the APA and FACA

provides no private right of action,” “[m]andamus is the only vehicle for [the Plaintiffs’] claims

against” the Council. Barr, 496 F. Supp. 3d at 145.

                                          COUNT III
                                 Mandamus, 28 U.S.C. § 1361
           Violation of FACA — Fairly Balanced Council Free of Inappropriate Influence

          86.     The Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.



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        87.     The Council was established to “facilitate strong and effective relationships be-

tween schools and parents, families and caregivers.”

        88.     Because the Council is a “council . . . established or utilized by one or more agen-

cies, in the interest of obtaining advice or recommendations for . . . one or more agencies or officers

of the Federal Government,” 5 U.S.C. app. 2 § 3(2), it is an “advisory committee” as defined in

FACA.

        89.     The Council is not an “intergovernmental committee” exempted from FACA’s re-

quirements.

        90.     Because the Council is not exempted from FACA’s requirements, it must be “fairly

balanced in terms of the points of view represented and the functions to be performed.” 5 U.S.C.

app. 2 § 5(b)(2).

        91.     As set forth above, the Council’s members are not fairly balanced in terms of their

points of view on issues being studied and addressed by the Council. The Council disproportion-

ately represents views that align with the Biden Administration and fails to reflect the diversity of

opinions held by American parents, families, and caregivers.

        92.     Further, to comply with FACA, committees have a nondiscretionary duty to “not

be inappropriately influenced by the appointing authority or by any special interest.” Id.§ 5(b)(3).

        93.     The Biden Administration has “inappropriately influenced” the Council through its

outspoken aggression towards parents that the National School Board Association accused of “do-

mestic terrorism and hate crimes.”12 While the NSBA later apologized for this mischaracterization,




12
  Memorandum from Attorney General Garland to FBI Director, Director of the Executive Office
for U.S. Attorneys, Assistant Attorney General of the Criminal Division, and United States Attor-
neys (Oct. 4, 2021) (available at https://bit.ly/3NQJ4Yx); see generally Letter from Viola Garcia,


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the DOJ’s memorandum discussing alleged threats remains available on the DOJ’s website.13

                                              COUNT IV
                                    Mandamus, 28 U.S.C. § 1361
                                 Violation of FACA — Charter Filing

          94.     The Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.

          95.     FACA states that “[n]o advisory committee shall meet or take any action until an

advisory committee charter has been filed with . . . the head of the agency to whom any advisory

committee reports and with the standing committees of the Senate and of the House of Represent-

atives having legislative jurisdiction of such agency.” 5 U.S.C. app. 2 § 9(c).

          96.     The Council reports to the Department and is subject to the legislative jurisdiction

of the Senate Health, Education, Labor, and Pensions Committee and the House Education and

Labor Committee.

          97.     The Council has a nondiscretionary duty to file an advisory committee charter with

the Department, the Senate Health, Education, Labor, and Pensions Committee, and the House

Education and Labor Committee before “meet[ing] or tak[ing] any action.”

          98.     The Council has not filed an advisory committee charter with the Department, the

Senate Health, Education, Labor, and Pensions Committee, or the House Education and Labor

Committee.

          99.     FACA’s implementing regulations also require that an advisory committee charter

be filed with the Library of Congress and the Secretariat. See 41 C.F.R. § 102-3.70(a)(3)–(4).


President, NSBA, and Chip Slaven, Interim Executive Director & CEO, NSBA, to President Biden
(Sept. 29, 2021) (available at https://bit.ly/3yKx72A).
13
   Memorandum from NSBA Board of Directors to NSBA Members (Oct. 22, 2021) (available at
https://bit.ly/3uu34JX).

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          100.     The Council has not filed an advisory committee charter with the Library of Con-

gress, nor has it filed a charter with the Secretariat.

          101.     According to the Department, the Council actively meets.

          102.     If the Council has not met, it has still “take[n] . . . action” because it is preparing to

meet. According to the Department’s June 14 Press Release, “the Council will meet” “[i]n the

coming weeks.”

                                              COUNT V
                                      Mandamus, 28 U.S.C. § 1361
                            Violation of FACA — Designated Federal Officer

          103.     The Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.

          104.     FACA requires that Defendant Cardona, as head of the agency to which the Council

reports, “designate a Federal officer . . . to be the [Designated Federal Officer]” for the Council.

41 C.F.R. § 102-3.120.

          105.     FACA forbids “any meeting in the absence of [a Designated Federal Officer].” 5

U.S.C. app. 2 § 10(e).

          106.     FACA orders that “[a]dvisory committees shall not hold any meetings except at the

call of, or with the advance approval of, a [Designated Federal Officer].” Id. § 10(f).

          107.     The Council has no Designated Federal Officer, yet the Council meets, or at least it

intends to meet “[i]n the coming weeks.”

                                              COUNT VI
                                      Mandamus, 28 U.S.C. § 1361
                             Violation of FACA — Public Notice and Access

          108.     Plaintiffs incorporate the allegations above by reference as if fully set forth herein.




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        109.     FACA requires that “[e]ach advisory committee meeting shall be open to the pub-

lic.” 5 U.S.C. app. 2 § 10(a)(1).

        110.     The Council thus has a nondiscretionary duty to ensure its meetings are open to

the public.

        111.     Because the Council has met without providing the public with the opportunity to

participate or listen in, its meetings have not been “open to the public.”

        112.     FACA also requires that “timely notice of each such meeting shall be published in

the Federal Register, and the Administrator shall prescribe regulations to provide for other types

of public notice,” Id. § 10(a)(2).

        113.     To constitute “timely notice,” the Council’s notice must be published in the Fed-

eral Register at least 15 days prior to the meeting, and must include: (1) the name of the advisory

committee; (2) the time, date, and place of the meeting; (3) a summary of the agenda and topics

to be discussed; (4) a statement of whether any parts of the meeting will be closed, along with an

explanation for such closure; and (5) contact information for a designated officer for those who

wish to learn more information. 41 C.F.R. § 102-3.150(a).

        114.     The Council has a nondiscretionary duty to publish notice of its meetings and

hearings in the Federal Register at least 15 days prior to any such meeting or hearing.

        115.     The Defendants have failed to provide timely notice of any of the Council’s meet-

ings.

        116.     The Defendants have failed to otherwise provide public notice of any kind for any

of the meetings conducted to date.




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          117.     FACA also requires that “the records, reports, transcripts, minutes, appendixes,

working papers, drafts, studies, agenda, or other documents which were made available to or pre-

pared for or by each advisory committee shall be available for public inspection and copying at a

single location in the offices of the advisory committee or the agency to which the advisory com-

mittee reports.” 5 U.S.C. app. 2 § 10(b).

          118.     The Defendants thus have a nondiscretionary duty to make all documents “availa-

ble to or prepared for or by” the Council, including meeting agendas, witness bios, hearing tran-

scripts, and record evidence, available to the public.

          119.     The Defendants have failed to make all necessary documents publicly available.


                                             COUNT VII
                              Declaratory Judgment Act, 28 U.S.C. § 2201
                               The Defendants Are in Violation of FACA

          120.     The Plaintiffs incorporate the allegations above by reference as if fully set forth

herein.

          121.     When statutory duties are violated, courts may also act under the Declaratory Judg-

ment Act, including as an alternative or in addition to granting mandamus relief. Citizens for Re-

sponsibility & Ethics in Wash. v. Cheney, 593 F. Supp. 2d 194, 222 (D.D.C. 2009).

          122.     All Council hearings must be noticed in advance in the Federal Register; by appar-

ently meeting without notice, the Defendants have violated § 10(a)(2) of FACA.

          123.     All meetings of the Council must be open to the public; by failing to grant public

access to its hearings, the Defendants have violated § 10(a)(1), (3) of FACA.

          124.     By not ensuring that the “membership of the advisory committee . . . be fairly bal-

anced in terms of the points of view represented and the functions to be performed by the advisory

committee,” Defendant Cardona has violated § 5(b)(2) of FACA.

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       125.     By failing to make any “appropriate provisions to assure that the advice and rec-

ommendations of the advisory committee will not be inappropriately influenced by the appointing

authority or by any special interest, but will instead be the result of the advisory committee’s in-

dependent judgment,” the Defendants have violated § 5(b)(3) of FACA.

       126.     By establishing the Council without an authorizing statute or authorization from the

President, and without publishing the establishment in the Federal Register, the Defendants have

violated § 9(a) of FACA.

       127.     By apparently meeting prior to filing the Council charter, the Defendants have vio-

lated § 9(c) of FACA. In the alternative, by preparing to meet prior to filing the Council charter,

the Defendants are “tak[ing] . . . action” in violation of § 9(c) of FACA.

       128.     By preparing to meet without an appointed Designated Federal Officer, the Defend-

ants are in violation of § 10(e) and § 10(f) of FACA.

       129.     By failing to make available all “the records, reports, transcripts, minutes, appen-

dixes, working papers, drafts, studies, agenda, or other documents which were made available to

or prepared for or by” the Council, the Defendants are in violation of § 10(b) of FACA.

       130.     By failing to make transcripts of each Council hearing available, the Defendants

are in violation of § 11 of FACA.

       131.     The Plaintiffs are entitled to a declaration under 28 U.S.C. § 2201 that the foregoing

conduct violates FACA.

                                     DEMAND FOR RELIEF

       WHEREFORE, the Plaintiffs respectfully pray that this Court enter judgment in their favor

and against the Defendants, and:




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a.   Declare that the National Parents and Families Engagement Council is an advi-

     sory committee subject to the requirements of the Federal Advisory Committee

     Act, 5 U.S.C. app. 2 §§ 1-16; and that the Defendants have violated FACA by

     (1) failing to ensure that the Council’s membership is fairly balanced; (2) estab-

     lishing the Council without specific authorization from the President or a statute,

     and failing to publish the establishment in the Federal Register; (3) failing to file

     an advisory committee charter with all required entities; (4) failing to appoint

     necessary officers for oversight; (5) failing to provide members of the public with

     timely notice of the Council’s meeting(s); (6) failing to grant the public access to

     Council meetings; (7) failing to make agendas, minutes, transcripts, witness bios,

     and other record evidence available to the public; and (8) failing to make appro-

     priate provisions to assure that the Council would not be inappropriately influ-

     enced by the appointing authority or any special interest.

b.   Declare the Council is not properly constituted;

c.   Enjoin Defendants Cardona, the Department, and the Council, and all of its work-

     ing groups, from holding any meetings, sessions, or hearings, or conducting any

     official business whatsoever on behalf of the Council, whether remotely or in

     person, until their violations of FACA are remedied;

d.   Enjoin Defendants Cardona, the Department, and the Council from submitting,

     accepting, publishing, employing, or relying upon any report or recommendations

     produced by the Council for any official purpose whatsoever, directly or indi-

     rectly, including indicating in any way that any report or recommendation of the




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                Council reflects the views of a lawfully constituted advisory committee, until

                their violations of FACA are remedied;

          e.    Vacate the establishment of the Council; and

          f.    Such other and further relief the Court deems just, proper, or equitable.


                                                 Respectfully submitted,

 /s/ J. Michael Connolly                         /s/ Christopher E. Mills
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